                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:13-00056
                                                 )           JUDGE CAMPBELL
CHRISTOPHER ANDREW WILCOX, et al.                )

                                             ORDER

        The Court attempted to hold a status conference in this case on July 15, 2013, but

attorney Kenneth D. Quillen, counsel for Defendant Mitchell, did not attend. Accordingly, the

Court cancelled the status conference. On or before July 22, 2013, Mr. Quillen shall file a notice

explaining his absence.

        All parties shall file a statement on or before July 22, 2013 indicating whether they intend

to go to trial on August 6, 2013.

        It is so ORDERED.



                                                      _________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




     Case 3:13-cr-00056      Document 56        Filed 07/15/13      Page 1 of 1 PageID #: 98
